     Case 1:96-cr-00061-DHB-BKE Document 566 Filed 12/15/14 Page 1 of 1
PROB35                                                         Reponand OrderTerminatingProbatiori,'
Rev.5/01                                                                          Supervjsed
Release
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                         TJNITEDSTATESDISTRICT COURT                        lorl|
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                         SOUTHERNDISTRICT OF GEORGIA
                               AUGUSTADIVISION


UNITED STATESOF AMERICA

              V.                                          l:96CR00061-001

WILLIAM HOWARD,A.K.A."WLL," "BLUE''



       On November 11, 2011, the above-namedwas placedon supervisedreleasefor a period of
five years. He has complied with the rules and regulationsofsupervised releaseand is no longer
in need of superwision.It is accordinglyrecommendedthat William Howard be dischargedfiom
supen'isedrelease.




                                           ChristophelA. Doughtie,Sr.
                                           UnitedStatesProbationOfficerSpbcialist


                                 ORDER OF THE COURT

       Pursuantto theabovereport,it is orderedthatthedefendant           from supervised
                                                             is discharged




                                           DudleyH.
